
USCA1 Opinion

	





        February 13, 1996       [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           

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        No. 95-1765 

                                ANTONIO MANUELA-LAZU,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.

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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Raymond L. Acosta, U.S. District Judge]
                                             ___________________

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                                        Before
                                           
                               Torruella, Chief Judge,
                                          ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________
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            Antonio Manuela Lazu on brief pro se.
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            John  C. Keeney, Acting  Assistant Attorney  General, Theresa M.B.
            _______________                                       ____________
        Van  Vliet,  Chief,  Hope  P.  McGowan,  and  John  J.  Farley,  Trial
        __________           _________________        ________________
        Attorneys,  Narcotic and  Dangerous Drug  Section,  Criminal Division,
        U.S. Department of Justice, on brief for appellee.


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                      Per Curiam.   Defendant-appellant Antonio  Manuela-
                      __________

            Lazu appeals  from the district court's  summary dismissal of

            his motion  under 28 U.S.C.    2255  to vacate, set  aside or

            correct his sentence.  We affirm.

                 Manuela  pleaded  guilty  to  one count  of  a  39-count

            indictment  charging  him  and  numerous  co-defendants  with

            conspiring  to  possess  with  intent  to  distribute  10,000

            kilograms of cocaine and 1,000  kilograms of marihuana.   The

            government and  Manuela stipulated,  for the purposes  of the

            plea  agreement,   that  Manuela  was   responsible  for  the

            importation or  distribution of "more than  150 kilograms but

            less  than 500  kilograms of  cocaine, including  conduct for

            which  the  defendant  would   be  otherwise  accountable  by

            application  of  U.S.S.G.     1B1.3."   The  plea  agreement,

            consistent with the stipulation, provided that the applicable

            base offense level was 38.  The sentencing court accepted the

            recommended base offense level and, accordingly, arrived at a

            guideline sentencing range of  188 to 235 months.   The court

            sentenced him to 188  months' imprisonment.  Manuela  did not

            appeal.

                 In his    2255 motion, Manuela claims  that the district

            court's failure to make  an independent finding regarding the

            quantity of drugs for  which he was individually responsible,

            violated due  process.  "[F]ailure to  raise a constitutional

            issue  [except ineffective  assistance of counsel]  on direct



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            appeal will bar raising the issue on collateral attack unless

            the defendant  can  show cause  for  the failure  and  actual

            prejudice." Knight  v. United States,  37 F.3d 769,  774 (1st
                        ______     _____________

            Cir. 1994).

                 Manuela has failed to identify  a change in the relevant

            law or any  other "cause" for  his failure  to raise his  due

            process  argument  on  direct  appeal.   Accordingly,  it  is

            unnecessary to address the  prejudice prong of the cause-and-

            prejudice  test.    Nor   has  Manuela  demonstrated  that  a

            fundamental  miscarriage  of  justice  will  result  from the

            dismissal of his due process claim.   He has not claimed that

            he entered  the stipulation involuntarily or  that the guilty

            plea is in any way defective.  Moreover, the PSR reveals that

            there is a reasonable factual basis for the quantity of drugs

            that Manuela stipulated to.  See U.S.S.G.   6B1.4.
                                         ___

                 The  summary dismissal  of  Manuela's    2255 motion  is

            affirmed.
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